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Fill in this information to identify the case

Debtor 1 Samsideen D. Quadri AKA Sam D Quadri

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: NORTHERN District of IL
                                                                            (State)
Case number 17-28121


Official Form 410S1
Notice of Mortgage Payment Change                                                                                               12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
Name of creditor              CitiMortgage, Inc.                                      Court claim no. (if known)            1
                                                                                      Date of payment change
Last four digits of any number                                                        Must be at least 21 days after date of        12/1/2020
you use to identify the debtor's                                                      this notice
account:                               8987
                                                                                      New total payment:
                                                                                      Principal, interest, and escrow, if any       $1,558.73
Part 1:           Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $883.64        New escrow payment:    $834.54

Part 2:           Mortgage Payment Adjustment

 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                              %          New interest rate:                                    %

           Current principal and interest payment: $                      New principal and interest payment: $

Part 3:           Other Payment Change




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 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect)

         Reason for change:

         Current mortgage payment: $                                   New mortgage payment: $




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Debtor 1        Samsideen D. Quadri AKA Sam D Quadri                                                                          Case
number (if known) 17-28121
           First Name                      Middle Name        Last Name



Part 4:             Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box.
          I am the creditor.
          I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

 X     /s/Stephen R. Franks                                                  Date 11/03/2020
     Signature

 Print:                   Stephen R. Franks                                  Title   Attorneys for Creditor

 Company                 Manley Deas Kochalski LLC

 Address                 P.O. Box 165028
                        Number             Street

                         Columbus OH 43216-5028
                        City                        State       ZIP Code

 Contact phone            614-220-5611                                       Email    amps@manleydeas.com




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Payment Change

was served on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Tom Vaughn, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603, ecf@tvch13.net

   David M Siegel, Attorney for Samsideen D. Quadri AKA Sam D Quadri, David M. Siegel &
   Associates, 790 Chaddick Drive, Wheeling, IL 60090, davidsiegelbk@gmail.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on November ___,
                                                                                         03 2020:



   Samsideen D. Quadri AKA Sam D Quadri, 3125 Alexander Cresent, Flossmoor, IL 60422

   Samsideen D. Quadri AKA Sam D Quadri, 3125 Alexander Crescent, Flossmoor, IL 60422-
   1707

                                                       /s/Stephen R. Franks




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                                                  Ewing, NJ 08628




                               Redacted
                 SAMSIDEEN QUADRI
                 VICTORIA QUADRI
                 3125 ALEXANDER CRES
                 FLOSSMOOR IL 60422-1707                                                                          09/04/20
                                                                                                                  LOAN NO:           Redacted
              RedactedRedacted                                                                                    https://www.loanadministration.com
                                                                                                                  Customer Service 855-839-6253
                                                                                                                                                   Page 1 of 2



                    Please see the enclosed insert "Understanding Your Escrow Account Disclosure Statement". This handy guide is intended to
                    help you understand your statement and answer some commonly asked questions about your escrow analysis.

                                         ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
          As you know, we are required to maintain an escrow account which is used to pay your real estate taxes and/or insurance premiums. This account must be
          analyzed annually to determine whether enough funds are being collected monthly, and whether the account has a shortage or surplus based on the
          anticipated activity.
                                                                PRESENT LOAN PAYMENT
          Your present payment, 07/01/19 consists of: Principal & Interest (P & I)                                   $724.19
                                                      Escrow Deposit                                                 $969.73
          Total Loan Payment                                                                                       $1,693.92


                                              ANTICIPATED ANNUAL DISBURSEMENTS
          These are the escrow items we anticipate we will collect for or pay on your behalf in the upcoming 12 month period. The dollar amount shown may be the
          last amount actually paid for that item, or may project the next amount due as defined by Federal law. Based on these anticipated disbursements, the
          amount of your escrow deposit is calculated and displayed here.


          Bills due in the upcoming year:                       County Tax                      $8,197.06
                                                                Hazard Ins                      $1,817.36

Redacted Annual Disbursements:                                                                  $10,014.42        One-Twelfth/Monthly Amount: $834.54
Redacted
Redacted
Redacted                                                              ACCOUNT HISTORY
Redacted
Redacted This section is the actual activity that occurred between 08/20 through 10/20. It represents the period of time between the last analysis statement date and
Redacted the last analysis effective date. Over this period, an additional $0.00 was deposited into your escrow account for interest on escrow.
Redacted
Redacted
Redacted                                                    Actual                         Actual                      Actual
Redacted                                                    Escrow                        Escrow                      Escrow
Redacted                    Month                          Payments                   Disbursements                Description                           Balance
Redacted
Redacted                                                                                                           Beginning   Balance                  -$7,237.54
Redacted                   SEP 2020                            0.00                           133.03               FHA MIP                               -7,370.57
                           SEP 2020                            0.00                         1,817.36               HAZARD INS                            -9,187.93

          The following statement of activity in your escrow account from 11/20 through 11/20 displays actual activity as it occurred in your escrow account during
          that period. Your monthly mortgage payment was $1,693.92 and $969.73 went into your escrow account. If you received Account Projections with a prior
          analysis, they are included again here for comparison.
                                         Payments                            Disbursements                                      Projected Escrow      Actual Escrow
          Month               Projected               Actual          Projected            Actual Description                    Account Balance Account Balance
                                                                                                      Beginning Balance                $2,695.78           $5,415.19
          NOV 2020              953.69               953.69 E           133.03                     E* FHA MIP                           3,516.44            6,368.88
          DEC 2020              953.69                      *           133.03                     * FHA MIP                            4,337.10
          JAN 2021              953.69                      *           133.03                     * FHA MIP                            5,157.76



      x                                                         *** CONTINUED ON REVERSE SIDE ***


                                                                                 SURPLUS
                Samsideen Quadri
                Victoria Quadri
                3125 Alexander Cres
                Flossmoor IL 60422-1707


          Loan Number:
                                 Redacted
          Surplus Amount:                $2,866.32


          Due to the delinquent status of your account, however, we will retain your surplus.
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FEB    2021           953.69                       *            133.03                     *   FHA MIP                          5,978.42
FEB    2021                                                   4,337.10                     *   R.E. TAX                         1,641.32
MAR    2021           953.69                       *            133.03                     *   FHA MIP                          2,461.98
APR    2021           953.69                       *            133.03                     *   FHA MIP                          3,282.64
MAY    2021           953.69                       *            133.03                     *   FHA MIP                          4,103.30
JUN    2021           953.69                       *            133.03                     *   FHA MIP                          4,923.96
 JUL   2021           953.69                       *            133.03                     *   FHA MIP                          5,744.62
 JUL   2021                                                   3,859.96                     *   R.E. TAX                         1,884.66
AUG    2021           953.69                       *            133.03                     *   FHA MIP                          2,705.32
SEP    2021           953.69                       *            133.03                     *   FHA MIP                          3,525.98
SEP    2021                                                   1,650.84                     *   HAZARD INS                       1,875.14
OCT    2021           953.69                       *            133.03                     *   FHA MIP                          2,695.80

An asterisk (*) beside an amount indicates a difference from projected activity either in the amount or the date. Please note since mortgage insurance is
paid monthly on the annual renewal date of the premium and PMI is paid monthly for the prior month’s premium, additional asterisks report in the Account
History for these items, if applicable. The letter "E" beside an amount indicates that the payment or disbursement has not yet occurred, but is estimated to
occur as shown.

Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $11,444.26. Under Federal Law, your
lowest monthly balance should not have exceeded $1,641.32, or 1/6th of total anticipated payments from the account, unless your loan contract or State law
specifies a lower amount.

Under your loan contract and State law your lowest monthly balance should not have exceeded $1,641.32.

Your actual lowest monthly balance was greater than $1,641.32. The items with an asterisk on your Account History may explain this. For a further
explanation, call our Customer Service number shown at the end of this statement.


                                                       ACCOUNT PROJECTIONS
The following estimate of activity in your escrow account from 12/20 through 11/21 is provided for your information. All payments we anticipate receiving as
well as disbursements we anticipate making on your behalf are included, along with the Projected Escrow Account Balance, derived by carrying forward
your current actual escrow balance. The Required Escrow Account Balance displays the amount actually required to be on hand as specified by Federal
law, State law and your loan documents, and may include a cushion of up to 1/6th of your Annual Disbursements. Please retain this statement for
comparison with the actual activity in your account at the end of the next escrow account computation year.
                                        Anticipated Amount                                               Projected Escrow          Required Escrow
    Month                      To Escrow                From Escrow             Description              Account Balance           Account Balance
                                                                                Beginning Balance                 $6,368.88                $3,502.56
    DEC     2020                    834.54                                                                         7,203.42                 4,337.10
    JAN     2021                    834.54                                                                         8,037.96                 5,171.64
    FEB     2021                    834.54                   4,337.10           R.E. TAX                           4,535.40                 1,669.08
    MAR     2021                    834.54                                                                         5,369.94                 2,503.62
    APR     2021                    834.54                                                                         6,204.48                 3,338.16
    MAY     2021                    834.54                                                                         7,039.02                 4,172.70
    JUN     2021                    834.54                                                                         7,873.56                 5,007.24
     JUL    2021                    834.54                   3,859.96           R.E. TAX                           4,848.14                 1,981.82
    AUG     2021                    834.54                                                                         5,682.68                 2,816.36
    SEP     2021                    834.54                   1,817.36           HAZARD INS                         4,699.86                 1,833.54
    OCT     2021                    834.54                                                                         5,534.40                 2,668.08
    NOV     2021                    834.54                                                                         6,368.94                 3,502.62

Your Projected Escrow Account Balance as of 11/30/20 is $6,368.88. Your Required Beginning Escrow Balance according to this analysis should
be $3,502.56.
This means you have a Surplus of $2,866.32. This surplus must be returned to you unless it is less than $15.00, in which case we have the additional option
of keeping it and lowering your monthly payments accordingly. Due to the delinquent status of your account, however, we will retain your surplus.
Once during this period, your Required Escrow Account Balance should be reduced to $1,669.08 as shown in February. This amount represents the
cushion selected by us as allowed by your loan contract, Federal and State law.


                                                          NEW LOAN PAYMENT
Your new payment consists of:                          Principal & Interest (P & I)                         $724.19
                                                       Escrow Deposit                                       $834.54
New Loan Payment                                       Beginning on December 1, 2020                      $1,558.73




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     Important Notes:

     Automatic Draft Customers: If you’re enrolled in Automatic Drafting, any additional principal deductions you have previously authorized are not included
     in the above listed new payment amount. However, until we are otherwise advised, the authorized additional principal amount will continue to be withdrawn
     from your account.

     Adjustable Rate Mortgage Customers: If your loan has an adjustable interest rate your monthly principal and interest payment may change prior to your
     next Escrow Analysis.

     Insurance Renewal/Changing Insurance Companies : Upload proof of insurance coverage at www.MyCoverageInfo.com using PIN              Redacted
     TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO THE AUTOMATIC STAY IN A BANKRUPTCY PROCEEDING,
     THIS LOAN STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN
     ATTEMPT TO COLLECT INDEBTEDNESS AS YOUR PERSONAL OBLIGATION.

     Should you have any questions about this Escrow Analysis, please call our Customer Service Department at 855-839-6253.




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